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UN|TED STATES DISTRICT COURT

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v 2.04cn20336-01-Ma TEE_§D 95 hill W,S

GAFrY woonAnD

Doris Rand|e-Holt FPD
Defense Attorney

200 Jefferson Avenue, #200
Memphis, TN 38103

 

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on January 19, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section Nat_l-IFBLTQBM Offense Number(s)
Conc|uded
18 U.S.C. § 922(9) Fe|on in Possession of a Firearm 11/09/2003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Mandatory
Victims Ftestitution Act of 1996

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Blrth: 04/16/1981 July 26, 2005
Deft’s U.S. Marsha| No.: 19965-076

Defendant’s Mai|ing Address:
5102 Southington
Memphis, TN 38111

M%/"w~

SAMUEL H. IV|AYS, JF{.
UN|TED STATES DlSTR|CT JUDGE

'\_!o
July , 2005

 

This dochent entered on the docket sheet ln compliance
with Rule 55 andfor 32ibl FHCrP on " "

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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 63 Months.

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MAFlSHAL
By:

 

Deputy U.S. Marshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Sohedule of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment.

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised release:

The defendant shall submit to drug testing and treatment as directed by the Probation Officer;
The defendant shall submit to mental health treatment as directed by the Probation Officer;
The defendant shail seek and maintain full-time employment;

The defendant shall obtain his GED;

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Sohedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Sohedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
No Ftestitution was ordered.

UNer sATEs DRlsTlC COURT - WETERN DlsRlTC OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy cf the document docketed as number 38 in
case 2:04-CR-20336 Was distributed by faX, mail, or direct printing on
July 29, 2005 tc the parties listed.

 

 

Katrina U. Earley

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Ste. 800

Memphis7 TN 38103

Doris Hclt-Randle

Federal Defender's Office
100 N. Main ]BIdg.7 Suite 410
Memphis7 TN 38103

Honcrable Samuel Mays
US DISTRICT COURT

